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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                                       )
  UNITED STATES OF AMERICA, ex rel.                    )
  PAUL TERRION et al.,                                 )
                                                       )
                    Plaintiffs/Relators,               )
                                                       )
                                                                 Civil Action No. 19-3581 (FYP)
           v.                                          )
                                                       )
                                                       )
  POINT BLANK ENTERPRISES, INC., et al.,               )
                                                       )
                    Defendants.                        )


                         [PROPOSED] ORDER REGARDING SCHEDULE

          Upon consideration of the Joint Motion for Enlargement of Time for Responding to the

 Complaint, and For the Filing of an Amended Complaint, by Plaintiffs/Relators Paul Terrion et.

 al (“Plaintiffs/Relators”), and Defendant Point Blank Enterprises, Inc. (“Point Blank”), it is

 hereby ORDERED:

          1.       That the motion is GRANTED.

          2.       That any amended complaint be served by Plaintiffs/Relators on or before July 5,

 2022; and

          3.       That the date for Point Blank to respond to the complaint in this action be

 extended until on or before September 1, 2022.



          SO ORDERED,



                                                           __________________________
                                                           FLORENCE Y. PAN
                                                           United States District Judge


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